     Case 17-17554-VFP         Doc 56     Filed 07/25/18 Entered 07/25/18 11:37:13             Desc Main
                                          Document Page 1 of 2

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330                                                                 Order Filed on July 25, 2018
                                                                          by Clerk
FAIRFIELD, NJ 07004-1550                                                  U.S. Bankruptcy Court
973-227-2840                                                              District of New Jersey

                                                           Case No.: 17-17554 VFP
IN RE:
  RUTH V ACKERMAN                                          Hearing Date: 7/19/2018

                                                           Judge: VINCENT F. PAPALIA


                                                           Debtor is Entitled To Discharge

                    ORDER MODIFYING CHAPTER 13 PLAN POST CONFIRMATION

  The relief set forth on the following pages, numbered 2 through 2 is hereby ORDERED.




      DATED: July 25, 2018
        Case 17-17554-VFP           Doc 56     Filed 07/25/18 Entered 07/25/18 11:37:13                 Desc Main
 Debtor(s): RUTH V ACKERMAN                    Document Page 2 of 2

 Case No.: 17-17554 VFP
 Caption of Order:     ORDER MODIFYING CHAPTER 13 PLAN POST CONFIRMATION

        The Plan of the Debtor having been proposed to creditors, and hearing having been held on the Confirmation
of such Plan, and it appearing that the applicable provisions of the Bankruptcy Code have been complied with ; and for
good cause shown, it is
    ORDERED, that the plan of the above named Debtor dated 6/20/2018, or as amended at the confirmation hearing
    is hereby confirmed. The Standing Trustee shall make payments in accordance with 11 U.S.C. § 1326 with funds
    received from the Debtor; and it is further
    ORDERED, that to the extent that the Debtor’s plan contains motions to avoid judicial liens under 11 U .S.C.
    Section 522(f) and/or to avoid liens and reclassify claims in whole or in part, such motions are hereby granted,
    except as specified herein:
    ORDERED, that commencing 5/1/2017, the Debtor shall pay the Standing Trustee
        the sum of $745.00 for a period of 60 month(s), which payments shall include commission and expenses of
        the Standing Trustee in accordance with 28 U.S.C. § 586; and it is further
    ORDERED, that notwithstanding the preceding paragraph, in no event shall the unsecured creditors receive less
    than 100% of their timely filed claims; and it is further
    ORDERED, that upon completion of the plan, affected secured creditors shall take all steps necessary to remove
    of record any lien or portion of any discharged; and it is further

     ORDERED, that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13 Standing Trustee may
     submit an Amended Order Confirming Plan upon notice to the Debtor , Debtor's attorney and any other party
     filing a Notice of Appearance.
